829 F.2d 42
    Unpublished dispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Katherine D. MARKS, Petitioner,v.DEPARTMENT OF the AIR FORCE, Respondent.
    Appeal No. 87-3182
    United States Court of Appeals, Federal Circuit.
    Aug. 11, 1987.
    
      Before MARKEY, Chief Judge, BALDWIN, Senior Circuit Judge, and NIES, Circuit Judge.
      PER CURIAM.
    
    DECISION
    
      1
      The decision of the Merit Systems Protection Board, Docket No. AT07528610712, dismissing the appeal of Katherine D. Marks for lack of jurisdiction, is affirmed on the basis of the opinion below.
    
    